       Case 4:17-cr-00045-RAJ-RJK Document 112 Filed 04/13/18 Page 1 of 2 PageID# 444



                        UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA

NORFOLK/NEWPORT NEWS DIVISION
                                   Friday, April 13, 2018
MINUTES OF PROCEEDINGS IN              Open Court
PRESENT: THE HONORABLE RAYMOND A. JACKSON, U.S. DISTRICT JUDGE
Deputy Clerk: P. Thompson                                     Reporter: Janet Collins, OCR


 Set: 9:30 a.m.                Started:     9:20 a.m.              Ended: 5:15 p.m.

 Case No.   4:17cr45
                                   United States of America
                                             v.
                        Joseph James Cain Benson, Mark Xavier Wallace,
                         Brian Lamar Brown, and Rosuan Romeo Kindell


  AUSA’s Lisa McKeel and Howard Zlotnick appeared on behalf of the Govt.
  Attorney Lawrence Woodward, c/a appeared with defendant Joseph James Cain
 Benson, in custody.
  Attorney Andrew Sacks, Ret. appeared with defendant Mark Xavier Wallace, in
 custody.
  Attorney Trey Kelleter, c/a appeared with defendant Bryan Lamar Brown, in
 custody.
  Attorney Jamison Rasberry, c/a appeared with defendant Rosuan Romeo
 Kindell, in custody.


  Matter came on for trial by jury (Day #4).
  Petit jurors (12 & 2 alternate) appeared pursuant to adjournment last
 evening, 4/12/18.


  Government continued presentation of evidence – witnesses sworn and
 testified.


 (Lunch Recess: 1:00 p.m. – 2:30 p.m.)                               (continued on page 2)
      Case 4:17-cr-00045-RAJ-RJK Document 112 Filed 04/13/18 Page 2 of 2 PageID# 445



Case No. 4:17cr45 USA v. Benson, et. al.              Continuation... – Page 2 -



Exhibits admitted.
Objections heard and rulings made on the record.




Court adjourned to return on Monday, April 16, 2018 at 9:30 a.m.
Defendants remanded.
